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                                                                             CAROLINE E. OKS
                                                                             Director

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                                             October 9, 2023

VIA ECF

Hon. André M. Espinosa, U.S.M.J.                                              ORDER
U.S. District Court District of New Jersey
50 Walnut Street
Newark, NJ 07101

               Re:     Pallazi, et al. v. Cigna Health & Life Insurance Co.
                       Case No. 22-cv-6278-JMV-AME

Your Honor:

       This firm represents Defendant Cigna Health and Life Insurance Co. in the above-referenced
matter. We write jointly with Plaintiffs to request that the Court adjourn the telephonic status
conference presently scheduled for October 12, 2023.

        After the entry of the July 24, 2023 Scheduling Order, ECF No. 32, this Court dismissed
Plaintiffs’ First Amended Complaint, ECF. No 38. Plaintiffs then filed their Second Amended
Complaint (“SAC”). ECF No. 41. Defendant’s deadline to answer or otherwise move in response to the
SAC is set for October 19, 2023. See September 29, 2023 Clerk’s Text Order. Accordingly, the parties
respectfully request that the status conference be adjourned until after Defendant files its response to the
SAC so that the parties and the Court may have a more productive discussion during the conference.

       Should Your Honor have any questions, please do not hesitate to have a member of your staff
contact me. We thank you for Your Honor’s consideration of this request.

                                                             Respectfully submitted,

                                                             s/ Caroline E. Oks

                                                             Caroline E. Oks
                                             The request is GRANTED. The telephonic status conference
cc:    All Counsel of Record (via ECF)
                                             scheduled for October 12, 2023, at 10:00 a.m., is rescheduled to
                                             October 26, 2023, at 2:30 p.m. The parties shall join the
                                             conference by dialing 866-434-5269, access code 1874589. At
                                             least three business days before the conference, the parties shall
                                             file a joint status letter, not to exceed three, double-spaced pages.

                                             SO ORDERED on this 10th day of October, 2023.

                                              /s/ André M. Espinosa
                                             ANDRÉ M. ESPINOSA
                                             United States Magistrate Judge
